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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-1475V
                                        UNPUBLISHED


    MICHAEL MENDOZA, Guardian ad                            Chief Special Master Corcoran
    Litem of C.M., a minor,
                                                            Filed: April 2, 2021
                        Petitioner,
    v.                                                      Special Processing Unit (SPU);
                                                            Ruling on Entitlement; Concession;
    SECRETARY OF HEALTH AND                                 Table Injury; Influenza (Flu) Vaccine;
    HUMAN SERVICES,                                         Guillain-Barre Syndrome (GBS)

                       Respondent.


Alan Kenneth Nicolette, Nordstrom, Steele, et al., Tustin, CA, for Petitioner.

Matthew Murphy, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

       On October 26, 2020, Michael Mendoza filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”), on behalf of C.M. Petitioner alleges that C.M. suffered Guillain-Barré
Syndrome (“GBS”) which meets the Table definition for GBS after receiving the influenza
vaccine on September 6, 2019. Petition at 1, ¶¶ 2, 40. Petitioner further alleges that C.M.
received the vaccine in the United States and that neither he nor any other party has
received compensation or filed a civil action for C.M.’s GBS. Id. at ¶¶ 2, 43-44. The case
was assigned to the Special Processing Unit of the Office of Special Masters.



1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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       On March 29, 2021, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at
1. Specifically, Respondent concluded “that [P]etitioner has satisfied the criteria set forth
in the Vaccine Injury Table (“Table”) and the Qualifications and Aids to
interpretation(“QAI”).” Id. at 4.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Brian H. Corcoran
                                   Brian H. Corcoran
                                   Chief Special Master




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